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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                       Case No. 20-cr-27 (SRN/DTS)

               Plaintiff,

v.                                                     ORDER

Demarlo Dontrell Hudson,

               Defendant.


Jeffrey S. Paulsen, United States Attorney's Office, 300 South Fourth Street, Suite 600,
Minneapolis, MN 55415 for the United States of America.

Christa J. Groshek, Groshek Law, 302 North 10th Avenue, Minneapolis, MN 55401 for
Defendant Demarlo Dontrell Hudson.


      This matter is before the Court upon the Report and Recommendation of United

States Magistrate Judge David T. Schultz dated December 19, 2020 [Doc. No. 77]. No

objections have been filed to that Report and Recommendation in the time period

permitted.

      The Court, being duly advised in the premises, upon the Report and

Recommendation of the Magistrate Judge, and upon all of the files, records and

proceedings herein, now makes and enters the following Order.

      IT IS HEREBY ORDERED:

      1.       Defendant’s Motion to Suppress Evidence Obtained as a Result of Unlawful

               Searches [Doc. No. 18] is DENIED;

      2.       Defendant’s Motion to Suppress [Doc. No. 50] is DENIED; and

      3.       Defendant’s Amended Motion to Suppress [Docket No. 55] is DENIED.
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Dated: January 6, 2021                   s/Susan Richard Nelson
                                         SUSAN RICHARD NELSON
                                         United States District Judge




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